






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-05-204 CR


NO. 09-05-208 CR


____________________



TYRELL NORVELL ANTWINE, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the 252nd District Court


Jefferson County, Texas


Trial Cause Nos. 83454 and 83433






MEMORANDUM OPINION (1)


	Tyrell Norvell Antwine was convicted and sentenced on two separate indictments
for the offense of robbery.  Antwine filed notice of appeal on May 17, 2005.  In each case,
the trial court entered a certification of the defendant's right to appeal in which the court
certified that this is a plea-bargain case, and the defendant has no right of appeal.  See
Tex. R. App. P. 25.2(a)(2).  The trial court's certifications have been provided to the
Court of Appeals by the district clerk.

	On May 18, 2005, we notified the parties that the appeals would be dismissed unless 
amended certifications were filed within thirty days of the date of the notices and made a
part of the appellate records.  See Tex. R. App. P. 37.1.  The records have not been
supplemented with amended certifications.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeals must
be dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeals for want of jurisdiction.

	APPEALS DISMISSED.

								PER CURIAM


Opinion Delivered June 29, 2005

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.
1. Tex. R. App. P. 47.4.


